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                               UNITED STATES DISTRICT COURT
                             FOR THE SOUTHERN DISTRICT OF OHIO
                                WESTERN DIVISION AT DAYTON

     TAGNETICS, INC.,                                         :
                                                              :
                      Appellant,                              :    Case No. 3:19-cv-00363
                                                              :
           v.                                                 :    Judge Thomas M. Rose
                                                              :
     KENNETH KAYSER, et al.,                                  :
                                                              :
                    Appellees.                                :

 ______________________________________________________________________________

          ENTRY AND ORDER AFFIRMING THE BANKRUPTCY COURT’S
              OCTOBER 25, 2019 ORDER AND TERMINATING CASE
 ______________________________________________________________________________

          This matter is before the Court on an appeal from the United States Bankruptcy Court for

 the Southern District of Ohio (“Bankruptcy Court”) pursuant to 28 U.S.C. § 158(a). The case

 arose from the Appellees, Kenneth W. Kayser, Ronald E. Earley, and Jonathan Hager (collectively,

 the “Petitioning Creditors”) filing an involuntary bankruptcy petition as to the alleged debtor

 corporation, the Appellant, Tagnetics, Inc. (“Tagnetics”).                (See Doc. 2-2.)        The Petitioning

 Creditors allege in the petition that they are owed unpaid wages and salary related to their

 employment with Tagnetics. (Id. at PAGEID # 30-31, 33.) However, the issues on appeal only

 concern the parties’ settlement negotiations and settlement agreement. Petitioning Creditors are

 acting in this appeal pro se.1




 1
   Tagnetics requests oral argument, while Petitioning Creditors ask that this Court not require oral argument. (Doc.
 12 at PAGEID # 475; Doc. 14 at PAGEID # 745.) Pursuant to Federal Rule of Bankruptcy Procedure 8019, the
 Court has examined the briefs and record and determined that oral argument is unnecessary because “the facts and
 legal arguments are adequately presented in the briefs and record, and the decisional process would not be
 significantly aided by oral argument.” FED. R. BANKR. P. 8019(b)(3).
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         Tagnetics appeals the Bankruptcy Court’s October 25, 2019 “Order Granting in Part

 Tagnetics’ Motion to Enforce Settlement Agreement (Doc. 101) and Ordering Other Matters” (the

 “October 25 Order”). (See Doc. 1; Doc. 12.) Petitioning Creditors ask that the Court affirm the

 October 25 Order. (See Doc. 14.) For the reasons discussed below, the Court AFFIRMS the

 Bankruptcy Court’s decision. More specifically, the release in the parties’ settlement agreement

 does not extend to related third parties (related individuals/entities), and the parties’ settlement

 agreement—formed by an exchange of emails between the parties on July 26, 2019—is

 enforceable and does not suffer from a lack of a meeting of the minds.

    I.      BACKGROUND

                (1) The July 26, 2019 Email Exchanges

         The parties commenced settlement discussions in earnest on or about July 19, 2019. (See

 Doc. 12-1 at PAGEID # 512-13.) After a series of offers, counteroffers, and rejections (see id. at

 PAGEID #507-12), Tagnetics and the Petitioning Creditors agreed to a settlement on July 26,

 2019, the key terms of which were documented in an email from Tagnetics’ counsel (Stephen

 Stern) to the Petitioning Creditors at 3:27 p.m. that day. That email stated:

         Ron, Ken, and Jon:

         Below sets forth the terms of the agreement we reached by phone. Each of you
         please reply confirming agreement to these terms and then I need you to initiate a
         call with the court to advise of the settlement (it makes no sense for any of us to
         have to show up at court on Monday now that we have an agreement in place that
         will be documented more thoroughly in a settlement agreement. We can work on
         the written settlement agreement over the weekend.

         Key terms:

         Payment of $90,000 total ($30,000 each) within three days of a fully executed
         agreement.



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         The remaining schedule of payments as you proposed below,2 except in 12 and 18
         months instead of 6 and 12 months.

         Full mutual releases (no carve outs)

         Dismissal/withdrawal of claims by each of you to be filed within one day of
         receiving payment

         I believe this captures the key terms we discussed. Please confirm.

         Stephen

 (Doc. 12-1 at PAGEID # 506.)

         In response, one of the Petitioning Creditors (Mr. Hager) sent the following email to Mr.

 Stern approximately 30 minutes later:

         Stephen

         Mr. Earley is discussing this with the court at this moment. I am responding for
         Kayser, Earley and Hager [i.e., the Petitioning Creditors] saying we agree to the
         terms put forth as documented above [i.e., Mr. Stern’s July 26, 2019 at 3:27 p.m.
         email].

 (Id.) Two minutes later, Mr. Hager followed up with another email to Mr. Stern (copying the

 other two Petitioning Creditors) in which he stated:

         Stephen,

         I will clarify that we agree to the terms you set forth in your last email and
         represented below [i.e., Mr. Stern’s July 26, 2019 at 3:27 p.m. email].

         Key Terms:

         Payment of $90,000 total ($30,000 each) within three days of a fully executed
         agreement.

         The remaining schedule of payments as you proposed below, except in 12 and 18
         months instead of 6 and 12 months.



 2
  The “remaining schedule of payments as you proposed below” is a schedule of payments reflected in an email sent
 by one of the Petitioning Creditors on July 25, 2019 at 1:25 p m. (See Doc. 12-1 at PAGEID # 507-08.)

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        Full mutual releases (no carve outs)

        Dismissal//withdrawal of claims by each of you to be filed within one day of
        receiving payment

 (Id. at PAGEID # 505-06.) Thus, the “Key Terms” listed in Mr. Stern’s email and the “Key

 Terms” listed in Mr. Hager’s second response matched. Mr. Stern responded one minute later

 with an email that simply states: “Thank you.” (Id. at PAGEID # 505.)

                (2) The Draft Agreement

        On August 14, 2019, approximately two-and-a-half weeks later, Tagnetics’ counsel sent

 the Petitioning Creditors a draft agreement titled “Settlement and Mutual General Release

 Agreement.” (Doc. 12-2.) Among other things, the draft agreement contained language in

 which each Petitioning Creditor “releases and discharges Tagnetics, as well as its current and

 former parent companies, corporate and operating affiliates, subsidiaries, and related entities

 (including specifically Compass Marketing, Inc.), as well as each of their current and former

 directors, officers, shareholders or other equity holders, agents, employees, accountants, attorneys,

 and insurers … from any and all causes of action, claims, debts, costs, liabilities, and demands

 arising from the beginning of time until the date of this Agreement … [Each Petitioning Creditor]

 understands that this is a GENERAL RELEASE.” (Id. at PAGEID # 517-19.) The draft

 agreement also contained similar language in which Tagnetics “releases and discharges [the

 Petitioning Creditors] from any and all causes of action, claims, debts, costs, liabilities, and

 demands arising from the beginning of time until the date of this Agreement … Tagnetics

 understands that this is a GENERAL RELEASE.” (Id. at PAGEID # 519.)

        In response, the Petitioning Creditors raised several concerns about the draft agreement

 and stated that several changes would need to be addressed. (See Doc. 12-4 at PAGEID # 530.)


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 In turn, Tagnetics’ counsel challenged what he alleged to be mischaracterizations and said that

 many of the terms included in the Petitioning Creditors’ response to the draft agreement fell outside

 of the scope of what had been agreed to in the parties’ July 26, 2019 email exchanges. (Id. at

 PAGEID # 528-29.) The Petitioning Creditors did not sign the draft agreement.

                (3) The Bankruptcy Court’s Decision on Tagnetics’ Motion to Enforce
                    Settlement Agreement

        Tagnetics then filed a “Motion to Enforce Settlement Agreement.” (Doc. 2-12.) In its

 motion, Tagnetics argued that the parties reached a settlement agreement (with its key terms) by

 email on July 26, 2019, but the Petitioning Creditors were seeking to include additional terms that

 were not part of the agreement. (See id; see also Doc. 7-3 at PAGEID # 379; Doc. 12-5.) In

 response to the motion, the Petitioning Creditors argued that, because terms that they wanted

 included in the settlement agreement were mentioned in their initial proposal by email on July 20,

 2019 (i.e., six days before the July 26 email exchanges discussed above), and Tagnetics (allegedly)

 did not dispute those terms, such terms were accepted and the parties’ subsequent negotiations

 only concerned an acceptable payment schedule. (See Doc. 2-14; see also Doc. 7-3 at PAGEID

 # 379; Doc. 12-5.) On October 18, 2019, the Bankruptcy Court held an evidentiary hearing on

 Tagnetics’ motion. (See Doc. 12-5 (transcript of evidentiary hearing).)

        On October 25, 2019, the Bankruptcy Court rendered an oral decision telephonically that

 included its findings of fact and conclusions of law (the “October 25 Oral Decision”). (See Doc.

 7-3 (transcript of October 25 Oral Decision).) In line with its subsequent October 25 Order issued

 later that day (Doc. 2-21), the Bankruptcy Court determined in its October 25 Oral Decision that

 the parties had entered into a settlement agreement on July 26, 2019, the terms of which were

 reflected in the parties’ emails from July 26, 2019. (Doc. 7-3 at PAGEID # 386, 388, 392.) Thus,


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 the Bankruptcy Court rejected Petitioning Creditors’ primary argument in response to the motion.

 (See also id. at PAGEID # 385-86.) The Bankruptcy Court determined that “the emails from July

 20th through July 26th … show the numerous rejections and then finally an acceptance and

 memorialization in writing of agreed key terms” later on July 26, 2019. (Id. at PAGEID # 386.)

        The Bankruptcy Court also specifically addressed the agreement’s “Full mutual releases

 (no carve outs)” term. It determined that the Petitioning Creditors and Tagnetics released each

 other from all liability and obligations owed or claimed to be owed. (Doc. 7-3 at PAGEID # 389-

 90.) However, the Bankruptcy Court did not construe that term “to include affiliates, parent

 corporations, officers, directors or other undisclosed third parties.” (Id. at PAGEID # 390.) The

 Bankruptcy Court also stated:

        Although the settlement may not have resolved all disputes between Tagnetics and
        the Remaining Petitioning Creditors, by an objective standard a meeting of the
        minds occurred as to the payments to the Remaining Petitioning Creditors and a
        mutual release of any other obligations or damages. The agreement did not
        address Compass or any affiliates, parent corporation, officers, directors or third
        parties. Nor did it cover equity interests of the Remaining Petitioning Creditors,
        if any. The parties either by reference to rejected offers which no longer have any
        legal effect or by draft settlement agreement proposed after the agreement date of
        July 26th, have attempted to expand the agreement beyond the plain meaning of its
        terms. Thus, the agreement was as the parties agreed to by email on July 26th,
        2019. …

        The parties mutually released any obligations to each other as to the salary, benefits,
        loans or other similar obligations owed to the Remaining Petitioning Creditors.
        The agreement does not address any equity interests of the Remaining Petitioning
        Creditors. It also does not release any third party obligations, including but not
        excluded to Compass Marketing. Absent specific reference to such matters that
        had not occurred as of July 26th, the release of a stranger to a settlement is not
        ordinary, nor would ownership interest in a corporate entity be finalized by a
        general release.

 (Doc. 7-3 at PAGEID # 391-393.)

        Later that day, the Bankruptcy Court issued the October 25 Order, granting, in part,


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 Tagnetics’ motion. (Doc. 2-21.) The October 25 Order states, in relevant part:

          Based upon the evidence admitted during the hearing, including the testimony of
          the witnesses and the documentary evidence, and the arguments of the parties, and
          in accordance with the court’s oral decision rendered telephonically on October 25,
          2019 at 11:30 a.m., including its findings of fact and conclusions of law stated
          therein, Tagnetics’ Motion to Enforce Settlement Agreement (doc. 101) is granted
          in part. Accordingly, IT IS ORDERED that the settlement agreement agreed to
          by the parties on July 26, 2019, shall be enforced as follows:

               •   [payment schedule]
               •   Excepting the payments required by this Order as defining the terms of the
                   settlement reached by the parties, the parties are mutually released from any
                   past obligation to each other arising out of any contract or claim of any
                   nature …
                   …

          Except as otherwise noted, nothing in this order should be construed as addressing
          any equity interest, if any, of the Remaining Petitioning Creditors. It also does not
          release any obligations owed to or from third parties, including, but not limited to,
          Compass Marketing, or any affiliates, subsidiaries, parent corporation, officers, or
          directors of Tagnetics, Inc.

          ….

 (Doc. 2-21 (emphasis in original).) This appeal of the October 25 Order followed.

    II.        STANDARD OF REVIEW

          A district court, serving in an appellate capacity, reviews a bankruptcy court’s findings of

 fact for clear error and conclusions of law de novo. Wesbanco Bank Barnesville v. Rafoth (In re

 Baker & Getty Fin. Servs., Inc.), 106 F.3d 1255, 1259 (6th Cir. 1997); 28 U.S.C. § 158(a). “A

 factual finding will only be clearly erroneous when, although there is evidence to support it, the

 reviewing court on the entire evidence is left with the definite and firm conviction that a mistake

 has been committed.” United States v. Ayen, 997 F.2d 1150, 1152 (6th Cir. 1993).

          Issues that were not raised in a bankruptcy court will not be considered by the district court

 on appeal. See In re Eagle–Picher Industries, Inc., 963 F.2d 855, 863 (6th Cir. 1992) (“appellate


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 courts are not to address issues not raised for the first time in the trial court”). Additionally, the

 district court “is not obligated to search the record for support” of a party’s argument. Nat’l Credit

 Union Admin. Bd. v. Zovko, 728 F. App’x 567, 569 (6th Cir. 2018).

    III.      ANALYSIS

           Tagnetics raises two issues in this appeal. First, whether the Bankruptcy Court erred when

 it held that the parties’ settlement agreement did not include a release of Tagnetics’ (and the

 Remaining Petitioning Creditors’) related individuals/entities. (Doc. 12 at PAGEID # 478.)

 Second, if the Bankruptcy Court properly found that the release did not include a release of

 individuals/entities related to the parties, whether there was no meeting of the minds and, thus, no

 settlement agreement to enforce. (Id.) The Court will now address each of those issues.

                  (1) Scope of Release

           As Tagnetics acknowledges, the first issue on appeal is narrow. (Doc. 12 at PAGEID #

 484 (“While [Tagnetics’] Motion to Enforce the Settlement Agreement concerned several terms

 of the agreement between the parties, the only issue on appeal regarding the terms of the agreement

 is whether the scope of the release included individuals/entities that are related to the parties, such

 as parent companies, subsidiaries, affiliates, officers, directors, heirs, and personal

 representatives”).) Tagnetics argues that the Bankruptcy Court erred “when it found that the

 scope of the release given by the parties did not extend to related third parties, such as parent

 companies, subsidiaries, affiliates, officers, directors, heirs, and personal representatives.” (Id. at

 PAGEID # 474.)

           “A settlement agreement is a type of contract and is governed by reference to state

 substantive law governing contracts generally.” Cogent Solutions Grp., LLC v. Hyalogic, LLC,



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 712 F.3d 305, 309 (6th Cir. 2013) (internal quotation marks omitted). Here, there is no dispute

 that the substantive law to be applied is Ohio law. (See generally Docs. 12, 14, 15; see also Doc.

 7-3 (transcript of October 25 Oral Decision) at PAGEID # 380 (Bankruptcy Court’s analysis to

 support application of Ohio law).) Under Ohio law, “[t]he purpose of contract construction is to

 effectuate the intent of the parties.” Kelly v. Medical Life Ins. Co., 509 N.E.2d 411, 413, 31 Ohio

 St. 3d 130 (Ohio 1987). “The intent of the parties to a contract is presumed to reside in the

 language they chose to employ in the agreement.” Id.

        “[C]ommon words appearing in a written instrument are to be given their plain and

 ordinary meaning unless manifest absurdity results or unless some other meaning is clearly

 intended from the face or overall contents of the instrument.” Alexander v. Buckeye Pipe Line

 Co., 374 N.E.2d 146, 150, 53 Ohio St. 2d 241 (Ohio 1978). “[W]here the terms of a contract are

 clear and unambiguous, extrinsic evidence may not be used as an aid in interpretation.” Whitley

 v. Canton City Sch. Dist. Bd. of Educ., 528 N.E.2d 167, 168, 38 Ohio St. 3d 300 (Ohio 1988); see

 also Kelly, 509 N.E.2d at 413 (“A court will resort to extrinsic evidence in its effort to give effect

 to the parties’ intention only where the language is unclear or ambiguous, or where the

 circumstances surrounding the agreement invest the language of the contract with a special

 meaning”). Thus, “[w]hen the language of a written contract is clear, a court may look no further

 than the writing itself to find the intent of the parties.” Transtar Elec. v. A.E.M. Elec. Servs. Corp.,

 16 N.E.3d 645, 648, 140 Ohio St. 3d 193 (Ohio 2014). Additionally, “where the terms in an

 existing contract are clear and unambiguous, … [a] court cannot in effect create a new contract by

 finding an intent not expressed in the clear language employed by the parties.” Alexander, 374

 N.E.2d at 150.



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        As shown above, the parties expressly agreed to “[f]ull mutual releases (no carve outs).”

 Tagnetics concedes that “[t]he scope of the release to which the parties agreed is clear and

 unambiguous,” and, in fact, all of the parties agree that the terms in the settlement agreement are

 unambiguous. (Doc. 12 at PAGEID # 487, 495-96.) The Court likewise agrees and determines

 that the terms are clear and unambiguous. The interpretation of an unambiguous contract is a

 matter of law. Nationwide Mut. Fire Ins. Co. v. Guman Bros. Farm, 652 N.E.2d 684, 686, 73

 Ohio St. 3d 107 (Ohio 1995) (“If a contract is clear and unambiguous, then its interpretation is a

 matter of law and there is no issue of fact to be determined”); see also Latina v. Woodpath Dev.

 Co., 567 N.E.2d 262, 264, 57 Ohio St. 3d 212 (Ohio 1990) (the construction of written contracts

 is a matter of law).

        In assessing the plain and ordinary meaning of the terms, Tagnetics acknowledges that

 courts in Ohio have defined “mutual” to mean “[c]ommon to both parties” or “reciprocal.” (Doc.

 12 at PAGEID # 493 (citing Metalworking Machinery Co., Inc. v. Fabco, Inc., 477 N.E.2d 634,

 637, 17 Ohio App. 3d 91 (Ohio Ct. App. 1984) (quoting Black’s Law Dictionary (5th Ed. 1979)).)

 Additionally, Black’s Law Dictionary defines “mutual release” as “[a] simultaneous exchange of

 releases of legal claims held by two or more parties against each other.” Black’s Law Dictionary

 (11th Ed. 2019) (defining “mutual release” under the definition of “release”). In context, it is

 clear that the words “full” and “(no carve outs)” are used to clarify that there are no exceptions to

 the “mutual releases,” i.e., to the “simultaneous exchange of releases of legal claims held by

 [Tagnetics and the Petitioning Creditors] against each other.” Black’s Law Dictionary (11th Ed.

 2019) (definition of “mutual release”); Alexander, 374 N.E.2d at 150 (in interpreting a contract,

 courts read terms in conjunction with their surrounding terms).



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        Therefore, the Court determines that the parties’ settlement agreement does not include or

 apply to individuals or entities related to the parties, such as parent companies, subsidiaries,

 affiliates, officers, directors, heirs, or personal representatives. “If the parties had intended” to

 expand the scope of the mutual releases to also include such individuals or entities then “they could

 have easily so stated” in the settlement agreement (the July 26 email exchanges), but they did not.

 Alexander, 374 N.E.2d at 150.

        Some other meaning is not “clearly intended from the face or overall contents of the

 settlement agreement,” and this construction of the phrase does not result in “manifest absurdity.”

 Alexander, 374 N.E.2d at 150. In fact, the district court in NRRM, LLC v. Mepco Fin. Corp., Case

 No. 10 C 4642, 2015 U.S. Dist. LEXIS 39058, 2015 WL 150 WL 1501897 (N.D. Ill. Mar. 27,

 2015) was faced with the essentially same issue presented here and came to the same conclusion.

 Like this case, in NRRM, one party (Mepco) moved to enforce its settlement with another party

 (NRRM). The district court explained:

        NRRM argues that the fourth material term it offered—'[m]utual releases’—
        included not only NRRM’s and Mepco’s releasing of claims against each other, but
        also [third-party] Choice’s releasing its claims against NRRM. Not so, says
        Mepco: ‘When two parties agree to enter into a mutual release, they agree to release
        their claims against one another, without regard for claims that may be held by a
        third party. That is the objective and uniformly understood meaning of the term
        mutual release.’ …

        The court agrees that Mepco’s is indeed the common and generally accepted
        definition of ‘mutual release.’ See Black’s Law Dictionary 1480 (10th ed. 2014)
        (defining ‘mutual release’ as ‘[a] simultaneous exchange of releases of legal claims
        held by two or more parties against each other.’) (emphasis added); id. at 1178
        (defining ‘mutual’ as ‘directed by each toward the other or others; reciprocal,’ and
        ‘reciprocally given, received, or exchanged’) …

        Accordingly, the settlement agreement is not contingent on [third-party] Choice’s
        releasing its claims against NRRM, because the generally accepted meaning of
        ‘mutual release’ does not include releases by third parties.


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 NRRM, 2015 U.S. Dist. LEXIS 39058 at *20-22 (emphasis in original).

          Tagnetics makes a number of arguments in support of its position. However, the Court

 initially notes a fundamental problem: Tagnetics routinely refers to the draft agreement titled

 “Settlement and Mutual General Release Agreement” (Doc. 12-2) that it submitted to the

 Petitioning Creditors on August 14, 2019 as the “Settlement Agreement.” Although it is apparent

 that Tagnetics wishes that draft document was the parties’ actual settlement agreement, it is not.

 (See Doc. 12 at PAGEID # 483-84, 490; Doc. 12-2; Doc. 12-4.) And, Tagnetics concedes that it

 is not—as it must, given that the Petitioning Creditors never signed that draft document and

 specifically objected to it. (Id.) Some of Tagnetics’ arguments on appeal flow from its flawed

 understanding of the parties’ agreement.

          Tagnetics’ first main argument is that “[i]t is common practice to include in any full release

 of a business entity a release of the entity’s parent companies, subsidiaries, and affiliates (as well

 as other related individuals, including, but not limited to, officers and directors)” and that “it is

 understood that a general release encompasses such entities/individuals that are related to the

 business entity that is a party to a settlement.” (Doc. 12 at PAGEID # 487.) In support of this

 argument, Tagnetics cites a series of cases from Florida and one federal case from Vermont.

 However, the settlement agreement here does not state that contains a “general release,” and the

 issue presented arises under Ohio law—not Florida or Vermont.3


 3
   The cited Florida and Vermont cases are distinguishable for other reasons as well. For example, Bd. of Trs. of
 Fla. Atl. Univ. v. Bowman, 853 So. 2d 507 (Fla. Ct. App. 2003) involved a motion for attorneys’ fees due to an
 alleged rejection of a settlement proposal in light of a Florida state statute and rule of civil procedure. Additionally,
 the settlement proposal expressly included a “General Release” that specifically provided for a release of related
 individuals/entities who were not parties to the lawsuit. As another example, Over & Under Piping Contrs., Inc. v.
 Vt. Gas Sys., Case No. 2:15-cv-169, 2019 U.S. Dist. LEXIS 807, 2019 WL 77044 (D. Vt. Jan. 2, 2019) involved
 whether the parties had entered into an oral settlement agreement; the court ordered one party to execute a general
 release that included the other party’s employees and agents based on evidence that counsel for both parties
 understood that their releases would be broad general releases that are commonplace in Vermont legal practice.

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          Tagnetics says that it “has found no authority in Ohio or the Sixth Circuit that has addressed

 the issue before this Court regarding the scope of the releases.” (Doc. 12 at PAGEID # 488.)

 The Court likewise has not found an Ohio case (or federal case applying Ohio law) that specifically

 deals with the interpretation of the phrase used in the settlement agreement. However, as shown

 above, Ohio caselaw does provide applicable principles for this Court to make its determination

 on this issue. And, the NRRM case discussed above is more analogous than any of the cases cited

 by Tagnetics.

          Moreover, while it is true that extrinsic evidence of a general custom or trade usage is

 permitted “to show that the parties to a written agreement employed terms having a special

 meaning within a certain geographic location or a particular trade or industry,” such extrinsic

 evidence “cannot vary the terms of an express contract.” Alexander, 374 N.E.2d at 151. As the

 Ohio Supreme Court determined was the case in Alexander, this Court determines that the cited

 caselaw from two states that are not Ohio and the (arguably self-serving) testimony from

 Tagnetics’ own counsel about his personal experience in drafting settlement agreements “does not

 evince a custom or usage so widespread” in the context of forming settlement agreements “as to

 support a valid presumption that the parties, having knowledge of the special usage, must have

 intended” a more expansive meaning for the mutual releases when they employed the phrase ‘[f]ull

 mutual releases (no carve outs)’ in the settlement agreement.4 Id.


 4
   Tagnetics argues that the Bankruptcy Court disregarded its counsel’s “unrebutted testimony, which was improper
 and in error,” concerning how he personally could not recall a single instance where a settlement involving a
 business entity did not include a release of related individuals/entities. (Doc. 12 at PAGEID # 489.) In support of
 this argument, Tagnetics cites an Ohio appellate court opinion that addressed its standard of review of an Ohio trial
 court’s decision. As an initial matter, there is no support for the assertion that the Bankruptcy Court ignored this
 testimony. In fact, the October 25 Order and transcript of the October 25 Oral Decision indicate otherwise. (See
 Doc. 2-21; see also 7-3 at PAGEID # 376 (the Bankruptcy Court’s judge presided over the October 18 hearing, at
 which testimony was presented and “[i]n reaching its determinations the [Bankruptcy] Court considered the
 demeanor and credibility of the witnesses who testified … [including] Stephen Stern, counsel for Tagnetics”); id. at

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         A number of Tagnetics’ other arguments involve consideration of extrinsic evidence.

 Tagnetics points to language in the draft agreement that its counsel sent to the Petitioning Creditors

 on August 14, 2019, subsequent to the parties’ settlement agreement (the July 26 email exchanges).

 Ohio law shows that a subsequent draft document is not to be considered for purposes of

 determining the issue presented here. Whitley, 528 N.E.2d at 168 (given that the terms of the

 parties’ contract were clear and unambiguous, extrinsic evidence—namely, a prior practice and

 the language in a proposed bargaining agreement—could not be used as an aid in interpreting the

 contract). Thus, Tagnetics is wrong when it argues that “[t]he scope of the release Tagnetics

 proposed to give to the [] Petitioning Creditors also bears consideration.” (Doc. 12 at PAGEID #

 491.)

         Similarly, Tagnetics argues that one of the three Petitioning Creditors—on behalf of an

 entity (Kayser Ventures, Ltd.)—previously signed a settlement agreement that contains the more

 expansive release language that is found in the draft document. (See Docs. 12-2 and 12-6.) That

 settlement agreement was between Tagnetics, two entities, and one individual (none of the

 Petitioning Creditors). Thus, it is not the settlement agreement at issue, and the parties to that

 settlement agreement are not the same. Once again, Ohio law provides that “[w]here the terms of

 a contract are clear and unambiguous, extrinsic evidence may not be used as an aid in

 interpretation.” Whitley, 528 N.E.2d at 168; Transtar Elec., 16 N.E.3d at 648 (“[w]hen the

 language of a written contract is clear, a court may look no further than the writing itself to find




 PAGEID # 390 (“At the evidentiary hearing Stern stated that releasing affiliates of a company was common in these
 types of agreements”).) Additionally, later in its brief, Tagnetics essentially concedes the irrelevance of the
 testimony to the issue presented on interpreting clear and unambiguous terms in an agreement. (See Doc. 12 at
 PAGEID # 494 (making this same argument in the context of an alternative scenario that assumes, arguendo, that
 the Bankruptcy Court “meant to find the phrase ‘full mutual releases (no carve outs)’ ambiguous”).)

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 the intent of the parties”); see also Kelly, 509 N.E.2d at 413 (“A court will resort to extrinsic

 evidence in its effort to give effect to the parties’ intention only where the language is unclear or

 ambiguous, or where the circumstances surrounding the agreement invest the language of the

 contract with a special meaning”).5 Given that the terms of the settlement agreement are clear

 and unambiguous, the Court does not consider such extrinsic evidence for purposes of this issue.

         Similar too is Tagnetics’ argument that the Petitioning Creditors conceded that the scope

 of the release applied to related parties in a statement they made by email on August 19, 2019

 concerning language in the draft settlement agreement (therefore, after the July 26 email exchanges

 that formed the settlement agreement). As an initial matter, the Court does not find the Petitioning

 Creditors’ statement to be a concession regarding the scope of the phrase “[f]ull mutual releases

 (no carve outs).” More fundamentally, once again, the Court does not consider such extrinsic

 evidence for purposes of this issue. Whitley, 528 N.E.2d at 168. The Court notes that if the

 parties want to enter into a subsequent agreement or amendment to the settlement agreement, then

 they may do so, but that is not the issue on appeal.

         Tagnetics also makes what turns out to be a strawman argument. It argues that the

 Petitioning Creditors understood the phrase “full mutual releases (no carve outs)” to mean that any

 exposure they may have from Tagnetics would be extinguished, but that they would not be

 providing Tagnetics a reciprocal release. (See Doc. 12 at PAGEID # 491-93.) In addition to the

 fact that such alleged subjective intent is not to be considered (Transtar Elec., 16 N.E.3d at 648),

 the allegation is unsupported.          And, as set forth in the “Background” section above, the

 Bankruptcy Court’s decision does not align with that alleged understanding by Petitioning


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  As shown above, the Court determines that the circumstances surrounding the parties’ settlement agreement here
 do not “invest the language of the contract with a special meaning.” Kelly, 509 N.E.2d at 413.

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 Creditors anyway; it determined that there were reciprocal releases between Petitioning Creditors

 and Tagnetics.     (Doc. 2-21; Doc. 7-3 at PAGEID # 390-393.)             Moreover, on appeal, the

 Petitioning Creditors do not challenge the Bankruptcy Court’s decision and state that they accept

 it and believe it was a fair ruling.

         Finally, Tagnetics makes several arguments where it “assum[es] arguendo that the

 Bankruptcy Court meant to find the phrase ‘full mutual releases (no carve outs)’ ambiguous.”

 (Doc 12 at PAGEID # 494.) However, the Bankruptcy Court did not find the phrase ambiguous

 (and Tagnetics cites nothing to indicate otherwise).         Thus, those arguments are irrelevant.

 Tagnetics concedes that the phrase is not ambiguous, and, as shown above, this Court determines

 that the phrase is not ambiguous and makes its analysis accordingly.

         Therefore, the Court comes to the same conclusion as the Bankruptcy Court: the scope of

 the release in the parties’ settlement agreement does not include individuals/entities that are related

 to the parties, such as parent companies, subsidiaries, affiliates, officers, directors, heirs, and

 personal representatives.

                 (2) Meeting of the Minds

         For the second issue on appeal, Tagnetics argues that “there can be no meeting of the minds

 between Tagnetics and the … Petitioning Creditors if the phrase ‘full mutual releases (no carve

 outs)’ is found to exclude the parties’ related individuals/entities….” (Doc. 12 at PAGEID # 499.)

 This Court disagrees.

         Under Ohio law, “[e]ssential elements of a contract include an offer, acceptance,

 contractual capacity, consideration (the bargained for legal benefit and/or detriment), a

 manifestation of mutual assent and legality of object and of consideration.” Williams v. Ormsby,



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 966 N.E.2d 255, 258, 131 Ohio St. 3d 427 (Ohio 2012). A party seeking to prove the existence

 of a contract “must show the elements of mutual assent (generally, offer and acceptance) and

 consideration,” that there was a “meeting of the minds,” and “that the contract was definite as to

 its essential terms.” Nilavar v. Osborn, 711 N.E.2d 726, 732, 127 Ohio App. 3d 1 (Ohio Ct. App.

 1998). Regarding the last requirement (concerning definiteness of essential terms), the Ohio

 Supreme Court has held that the terms of an agreement need to be “reasonably certain and clear”

 and has acknowledged that “all agreements have some degree of indefiniteness and some degree

 of uncertainty.” Kostelnik v. Helper, 770 N.E.2d 58, 61, 96 Ohio St. 3d 1 (Ohio 2002).

        “In order for a meeting of the minds to occur, both parties to an agreement must mutually

 assent to the substance of the exchange,” with “a definite offer on one side and an acceptance on

 the other.” Turoczy Bonding Co. v. Mitchell, 118 N.E.3d 439, 444, 2018-Ohio-3173 (Ohio Ct.

 App. 2018). “Ohio law does not require contracting parties to share a subjective meeting of the

 mind to establish a valid contract; otherwise, no matter how clearly the parties wrote their contract,

 one party could escape its requirements simply by contending that it did not understand them at

 the time.” 216 Jamaica Ave., LLC v. S&R Playhouse Realty Co., 540 F.3d 433, 440 (6th Cir.

 2008). “What it does require is that the terms of the agreement establish an objective meeting of

 the mind, which is to say that the contract was clear and unambiguous.” Id. And, “expressions

 of assent are generally sufficient to show a meeting of the minds.” Nilavar, 711 N.E.2d at 733

 (courts consider “only objective manifestations of intent,” and “[s]ecretly held, unexpressed intent

 is not relevant to whether a contract is formed”); see also 216 Jamaica Ave., 540 F.3d at 441

 (where the relevant terms of the agreement are clear and unambiguous, a party is not permitted to

 introduce extrinsic evidence of its intent in entering into the agreement).



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        Finally, “[t]he existence of a valid agreement is not diminished by the fact that the parties

 have yet to memorialize the agreement.” RE/MAX Int’l, Inc. v. Realty One, Inc., 271 F.3d 633,

 646 (6th Cir. 2001). Courts may look to objective acts of the parties to determine whether an

 agreement has been reached. Id.

        Here, Tagnetics concedes that the July 26, 2019 email exchange contains the key terms of

 the parties’ agreement. (Doc. 12 at PAGEID # 476.) Both sides agreed on those key terms—

 Tagnetics offered them and the Petitioning Creditors accepted them—and the agreement includes

 bargained for consideration. Williams, 966 N.E.2d at 258; Turoczy Bonding, 118 N.E.3d at 444

 (despite the fact that the parties contemplated a future memorialized agreement, their email

 communications established a valid settlement agreement and did not expressly state that the

 agreement would only become binding after it was formally executed). The content of the emails

 exchanged on July 26 between the parties demonstrate that they reached an agreement on the terms

 in those emails. Id.; RE/MAX, Int’l, 271 F.3d at 646. The Court determines that the settlement

 agreement—as evidenced in the exchange of emails between the parties on July 26, 2019—is clear

 and unambiguous, contains and was definite as to its essential terms, and establishes an objective

 meeting of the mind (including on the release term at issue). Turoczy Bonding, 118 N.E.3d at

 444; Nilavar, 711 N.E.2d at 333; 216 Jamaica Ave, 540 F.3d at 440.

        In support of its argument that prior history and the settlement negotiations demonstrates

 that there was no meeting of the minds, Tagnetics cites to two Ohio appellate court cases that are

 readily distinguishable from this case: Beechwood Villa Apartments v. Nord Bitumi U.S., Inc.,

 Case No. CA89-08-073, 1990 Ohio App. LEXIS 1561, 1990 WL 50003 (Ohio Ct. App. Apr. 23,

 1990)—which is unpublished—and Wilson v. Pride, 2019-Ohio-3513, 2019 Ohio App. LEXIS



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 3610, 2019 WL 4134011 (Ohio Ct. App. 2019). Both of those cases involved an alleged oral

 settlement agreement that was never reduced to writing. Additionally, in Beechwood Villa

 Apartments, the trial court had relied on an affidavit in finding that the parties’ oral agreement was

 enforceable, but that affidavit was unclear concerning a key term.              Beechwood Village

 Apartments, 1990 Ohio App. LEXIS 1561, at *4-5. In Wilson, the parties were still negotiating a

 key term when one attorney emailed the court claiming that the parties had agreed on a settlement

 and, approximately 20 minutes later upon receiving that email, opposing counsel phoned the court

 to inform it that the parties actually had not reached a settlement. Wilson, 2019 Ohio App. LEXIS

 3610, at *2-3, 15-16.

          Much of Tagnetics’ argument on the second issue relies on its unfounded assertion that the

 Bankruptcy Court reformed the language of the settlement agreement. However, that is incorrect;

 if anything, Tagnetics is the one that is attempting to reform the settlement agreement. Tagnetics

 has a fundamental misunderstanding of what the Bankruptcy Court did. The Bankruptcy Court

 determined that the parties formed a settlement agreement on July 26, 2019 through their email

 exchanges on that date, and it enforced that agreement based on what was written (which everyone

 agrees were unambiguous terms). (See Doc. 2-21; Doc. 7-3 at PAGEID # 386, 388, 392.)

 Tagnetics’ related arguments concerning mutual mistake in the context of the Bankruptcy Court

 allegedly reforming the settlement agreement’s terms are inapplicable.

    IV.      CONCLUSION

          The Bankruptcy Court’s October 25, 2019 “Order Granting in Part Tagnetics’ Motion to

 Enforce Settlement Agreement (Doc. 101) and Ordering Other Matters” is AFFIRMED. The

 release in the parties’ settlement agreement does not extend to, or include, related third parties



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 (related individuals/entities). Also, the parties’ settlement agreement—formed by an exchange of

 emails between the parties on July 26, 2019—is enforceable and does not suffer from a lack of a

 meeting of the minds. This case is TERMINATED on the docket of this Court.

        DONE and ORDERED in Dayton, Ohio, this Monday, April 27, 2020.

                                                                 s/Thomas M. Rose
                                                         ________________________________
                                                                 THOMAS M. ROSE
                                                         UNITED STATES DISTRICT JUDGE




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